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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS

 IN RE: TESTOSTERONE REPLACEMENT                         MDL No. 2545
 THERAPY PRODUCTS LIABILITY LITIGATION                   Master Docket Case No. 1:14-cv-01748
 David Book
                                                         Honorable Matthew F. Kennelly

 Plaintiff(s),
 v.
 Abbvie, Inc.
 Abbott Laboratories
 Unimed Pharmaceuticals, LLC                             Case No.:
 Solvay, S.A.


 Defendant(s).
 All parties are to be included per Fed.R.Civ.P. 10(a)

                             MASTER SHORT-FORM COMPLAINT
                                  FOR INDIVIDUAL CLAIMS
        1.       Plaintiff(s), David Book                                                       ,

state(s) and incorporate(s) by reference the portions indicated below of Plaintiffs’ Master

Long Form Complaint on file with the Clerk of the Court for the United States District

Court for the Northern District of Illinois in the matter entitled In Re: Testosterone

Replacement Therapy Products Liability Litigation, MDL No. 2545. Plaintiff(s) [is/are] filing

this Short Form Complaint as permitted by Case Management Order No. 20 of this Court
for cases filed directly into this district.

        2.       In addition to the below-indicated portions of the Master Long Form

Complaint adopted by the plaintiff(s) and incorporated by reference herein, Plaintiff(s)

hereby allege(s) as follows:
                                                  VENUE
        3.       Venue for remand and trial is proper in the following federal judicial

district:    Northern District of Illinois
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                           IDENTIFICATION OF PLAINTIFF(S)
                          AND RELATED INTERESTED PARTIES

      4.       Name and residence of individual injured by Testosterone Replacement

Therapy product(s) (“TRT”): David        Book - 1140 Madison St.
Pecatonica, IL 61063
      5.       Consortium Claim(s): The following individual(s) allege damages for loss

of consortium: N/A



      6.       Survival and/or Wrongful Death claims:

            a. Name and residence of Decedent when he suffered TRT-related injuries

               and/or death:
N/A


            b. Name and residence of individual(s) entitled to bring the claims on behalf

               of the decedent’s estate (e.g., personal representative, administrator, next of

               kin, successor in interest, etc.)
N/A


                                   CASE SPECIFIC FACTS
                          REGARDING TRT USE AND INJURIES
      7.       Plaintiff currently resides in (city, state): Pecatonica, IL

      8.       At the time of the TRT-caused injury, [Plaintiff/Decedent] resided in (city,

state): Pecatonica,      IL
      9.       [Plaintiff/Decedent] began using TRT as prescribed and indicated on or

about the following date: March       of 2006
      10.      [Plaintiff/Decedent] discontinued TRT use on or about the following date:
August of 2015
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      11.      [Plaintiff/Decedent] used the following TRT products, which Plaintiff

contends caused his injury(ies):

☐     AndroGel                                    ☐     Striant
☐     Testim                                      ☐     Delatestryl
☐     Axiron                                      ☐     Other(s) (please specify):
☐     Depo-Testosterone                           ____________________________________
☐     Androderm                                   ____________________________________
☐     Testopel                                    ____________________________________
☐     Fortesta                                    ____________________________________


      12.      [Plaintiff/Decedent] is suing the following Defendants:

☐      AbbVie Inc.                            ☐       Endo Pharmaceuticals, Inc.
☐      Abbott Laboratories
                                              ☐       Auxilium Pharmaceuticals, Inc.
☐      AbbVie Products LLC
☐      Unimed Pharmaceuticals, LLC            ☐       GlaxoSmithKline, LLC
☐      Solvay, S.A.
☐      Besins Healthcare Inc.                 ☐       Actavis, Inc.
☐      Besins Healthcare, S.A.                ☐       Actavis Pharma, Inc.
                                              ☐       Actavis Laboratories UT, Inc.
☐      Eli Lilly and Company                  ☐       Anda, Inc.
☐      Lilly USA, LLC
☐      Acrux Commercial Pty Ltd.
☐      Acrux DDS Pty Ltd.

☐      Pfizer, Inc.
☐      Pharmacia & Upjohn Company Inc.


☐     Other(s) (please specify):




      13.      [Plaintiff/Decedent] is bringing suit against the following Defendant(s),

who did not manufacture TRT and only acted as a distributor for TRT manufacturers:
N/A


            a. TRT product(s) distributed:
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             b. Conduct supporting claims:




       14.      TRT caused serious injuries and damages including but not limited to the

following:
Heart attack resulting in a quadruple bypass



       15.      Approximate date of TRT injury: June         2014



                ALLEGATIONS, CLAIMS, AND THEORIES OF RECOVERY
                 ADOPTED AND INCORPORATED IN THIS LAWSUIT
       16.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth
fully herein, all common allegations contained in paragraphs 1 through 467 of the

Master Long Form Complaint on file with the Clerk of the Court for the United States

District Court for the Northern District of Illinois in the matter entitled In Re:
Testosterone Replacement Therapy Products Liability Litigation, MDL No. 2545.

       17.      Plaintiff(s) hereby adopt(s) and incorporate(s) by reference as if set forth

fully herein, the following damages and causes of action of the Master Long Form

Complaint on file with the Clerk of the Court for the United States District Court for the

Northern District of Illinois in the matter entitled In Re: Testosterone Replacement Therapy

Products Liability Litigation, MDL No. 2545:

       ☐        Count I – Strict Liability – Design Defect

       ☐        Count II – Strict Liability – Failure to Warn

       ☐        Count III – Negligence
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       ☐      Count IV – Negligent Misrepresentation

       ☐      Count V – Breach of Implied Warranty of Merchantability

       ☐      Count VI – Breach of Express Warranty

       ☐      Count VII – Fraud

       ☐      Count VIII – Redhibition

       ☐      Count IX – Consumer Protection

       ☐      Count X – Unjust Enrichment

       ☐      Count XI – Wrongful Death

       ☐      Count XII – Survival Action

       ☐      Count XIII – Loss of Consortium

       ☐      Count XIV – Punitive Damages

       ☐      Prayer for Relief
       ☐      Other State Law Causes of Action as Follows:




                                       JURY DEMAND
Plaintiff(s) demand(s) a trial by jury as to all claims in this action.


Dated this the   7th   day of   January                16
                                                   , 20____.


                             RESPECTFULLY SUBMITTED
                             ON BEHALF OF THE PLAINTIFF(S),

                                /S/ Turner W. Branch
                             Signature

OF COUNSEL:            (name) Turner W. Branch
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